




Dismissed and Memorandum Opinion filed March 26, 2009








Dismissed
and Memorandum Opinion filed March 26, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00177-CV

____________

&nbsp;

STRATEGIC PETROLEUM INVESTMENT
CONSULTANTS 

ENTERPRISE, INC., Appellant

&nbsp;

V.

&nbsp;

BREWER &amp; PRITCHARD, P.C., Appellee

&nbsp;



&nbsp;

On Appeal from the
151st District Court

Harris County,
Texas

Trial Court Cause
No. 2008-48075

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed January 21, 2009.&nbsp; On March12, 2009, appellant
filed a motion to dismiss the appeal because the case has settled.&nbsp;&nbsp; See
Tex. R. App. P. 42.1.&nbsp; The motion
is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Justices Frost, Brown, and Boyce.





